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EXHIBIT 1

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POLICY ON THE ELIMINATION OF |
WORKPLACE SEXUAL HARASSMENT °

Sexual harassment of workers by members of supervision or co-workers should not be tolerated
at any workplace organized by the UAW. Nonetheless, UAW members have been victims of
sexual harassment. This letter confirms the policy of the International Union that sexual
harassment is a serious obstacle to the achievement of full employment opportunity for workers
of both sexes. The Intemational Officers, Directors and staff, and local union leadership must
commit their efforts fo its elimination. Just as the UAW abhors the use of racial or ethnic slurs,
the Iniernational Union views sexual harassment of any form as an attack on the dignity of the
worker who is its victim.

DEFINITION OF SEXUAL HARASSMENT

Sex-based harassment may be unwanted attention directed to an employee because of their sex.
Equal Employment Opportunity Commission (EEOC) guidelines stress that sexual harassment
can be verbal abuse as well as unwanted physical contact or offensive pictures, cartoons, slogans
or posters displayed in a work area:

Unwelcome sexual advances, requests for sexual favors, and other verbal or
physical conduct of a sexual nature constitute sexual harassment when (1)
submission to such conduct is made either explicitly or implicitly a term or condition
of an individual's amployment; (2) submission to or rejection of such conduct by
an individual is used as the basis for employment decisions affecting such
individual; or (3) such conduct has the purpose or effect of substantially interfering
with an individual’s work performance or creating an intimidating, hostile, or
offensive working environment.

Recent court decisions also have recognized that sexual harassment can occur In many differant
ways. A worker need not be propositioned, touched offensively or harassed by sexual innuendo.

tn some sexually charged workplaces, proving the “unwelcomeness” of the harassment activity is
complicated by the behavior of the complainant. Mixed signals may indicate the complainant is
showing welcomeness, while in fact, the employee's behavior is simply an effort to adjust to the
prevailing workplace culture. Under the law, conduct that is initially welcomed, may later become
unwelcome. An employee's Initial acceptance does not waive their right to complain about later
conduct, but the initlal acceptance may complicate any attempt to prove unwelcomeness.

There are at least four types of victims of sexual harassment: 1) those who are penalized for
refusing the harasser's advances; 2) thosa whose fear of reprisal or desire for privileges traps
them in unwanted sexual relationships; 3) workers who suffer as a rasult of the harasser's
favoritism toward one of them who does submit to sexual advances; and 4} everyone who is
required to work in an environment tainted with hostile or offensive language, behavior or visual

displays.

 

* Source: UAW Administrative Letter, Volurne No. 47, November 2, 1998, Letter No. 5 ~ Sexual
Harassment is Grievable,
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SEXUAL HARASSMENT IS GRIEVABLE

Sexual harassment of a union member by another union member is a matter of grave concerm.
Some union representatives have been reluctant to write grievances that they feel may be against
another member. These kinds of grievances should be written against managemeni, citing the
employer's responsibility to maintain an environment free of hostility.

Over the years, EEOC sexual harassment guidelines and the federal courts have established that
sexual harassment is sex discrimination and violates Title VII of the 1964 Civil Rights Act, as

amended.

In 1986, the U.S. Supreme Court unanimously ruled, in Meritor Savings Bank v. Vinson, that sex-
based harassment was unlawful if it created a hostile, abusive, offensive and intimidating work
environment even if no sexual favors were sought. This had tong been the law concerning hostile
environment created due to an employee's national origin, race or religion.

Because sexual harassment may cause a form of hostile work environment, the employer has a
legal duty to maintain a work environment free of any form of sexual harassment. Likewise, the
local union has an obligation, under law, to require management to promptly investigate such
charges and to take immediate corrective action(s) where necessary when sexual harassment is
reported.

We advise local unions to file and pursue grievances if the employers fail to meet any part of their
legal responsibilities to provide a workplace free of sexual harassment. Ht Js the position of the
International Union that sexual harassment may be grieved as a form of sex discrimination under
a no-discrimination clause and/or equal application clause where such language exists in the
contract.

Sexual harassment may result in other contract violatlons which could also be grieved, for
example, unjust discipline. We believe that sexual harassment can best and most speedily be
remedied through the grievance procedure where it is possible to do so under the provisions of
the contract. Just as with any other complaint of unfalr treatment, grievance handlers have a duty
to investigate complaints of sexual harassment. The Unlon also has a duty to take prompt
corrective action where the {nitlal investigation indicates that sexual harassment has occutred. In
this context, “prompt corrective actlon” means writing a grievance.

Proof that sexual harassment has occurred often Involves a credlbitity dispute between the victim
and the “harasser’. As with any credibility problem, additional evidence, while not necessary, is
highly desirable where it is available. Two frequent sources for such outside support in sexual
harassment cases are co-workers who witness sexual comments or overtures toward the grievant
and present or former co-workers who were also sexually approached by the same harasser.
However, the absence of testimony from other victims should not preclude the writing of a
grievance.

The Union could also be named as a respondent, along with management, in an EEOC charge
or a subsequent lawsuit. Therefore, if the facts show that sexual harassment has occurred, a
grievance should be pursued.
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SPECIAL PROTECTION AGAINST SEXUAL HARASSMENT

In addition to grievances on sex discrimination, additlonal efforts can be made through collective
bargaining to eradicate sexual harassment. Since 1979, the problem of sexual harassment has
been brought to the bargaining table for frank and open discussion with management.
Contractual language was won at Chrysler, Ford, and General Motors which identifies sexual
harassment as a subject within the jurisdiction of the National and Local Equal Application
Committee, In 1996 letters, these auto employers agreed that discrimination because of sexuat
orientation could be grieved the sarne as other types of improper discrimination.

The International Union encourages the development of special complaint provisions to address
the problem of sexual harassment, as long as such provisions offer an additional avenue of relief,
rather than a substitute for the grievance procedure and can be applied equally to all UAW
members.

PROBATIONARY EMPLOYEES

Probationary ernployees are frequently the most vulnerable to sexual harassment because they
are less aware of their rights and can be intimidated Into believing that successful comptetion of
the probationary period depends on their cooperation with a harasser’s sexual advances.

For these reasons, it is important that Union teadership be sensitive to the potential problems of
sexual harassment encountered by probalionary employees and provide the support and
information necessary to prevent the probationary employee from becoming a victim.

In same of our contracts, probationary employees have the right to file a griavance based on
discrimination. Where It exists, this right may be exercised. As Indicated earlier, sexual
harassment of even probationary employees may be griaved as a form of sex discrimination. If it
is believed that probationary employees may not have their grievances processed, even if they
relate to discrimination, they should be referred to the Equal Employment Opportunity
Commission (EEOC) or certain state agencies responsible for fair employment practices where
they can pursue a claim with those government agencies. [n this case, tlme IImits for fillng charges
must be checked immediately and carefully watched. As with any other sex discrimination charge,
copies of any charge should be forwarded to your Regional Director, National Department
Director, and the Civil Rights Department of the UAW. if legal advice is needed, they will contact
the UAW Legal Department. In some states, harassment victims can file civil lawsuits In state
courts. However, a charge with an outside agency or a Jawsult should not ie used as a substitute
for the grievance procedure if the situation is grievable.

REMEDIES FOR SEXUAL HARASSMENT

The remedy for a victim of sexual harassment depends on the particular case. For example, if the
grievant has suffered economic harm (e.g., demotion, suspension, discharge) due to retaliation

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by a supervisor for the employee's failure to submit to the supervisor's advances, the requested
remedy should include the standard “make whale” demand, On the other hand, if the grievance
is directed af slopping harassment, the requested remedy should at least demand that the
supervisor cease and desist the objectionable conduct. It can also request that the supervisor be
transferred or disciplined up to and including discharge and that the company fulfill its duty to
provide a workplace free of sexual harassment.

Other forms of relief or grievance settlement may include a demand that management print,
distribute and post a policy againet sexual harassment in the workplace. This demand can also
be pursved during contract negotiations.

CONFIDENTIALITY

A sexual harassment complaint is a very sensitive topic and must be handled with great
seriousness and respect for the rights of all concerned. Sometimes workers are too embatrassed
or humiliated by the experience to come forward with their complaints. This problem can only be
corrected if workers feel assured that the Union will take their complaints seriously and will treat
them as confidentlal as possible.

Of course, the filing of a grievance on sexual harassment means that the complaint will not be
totally secret foraver. However, the substance of the grievance can determine how much detail
must be revealed to management or how prominent a role the individual victim must play. For
example, the committeeperson may wish fo file a union policy grievance or group grievance when
the aim of the grievance is to stop a harasser’s conduct and no economic award for an individual
grievant is sought. The names of the alleged harasser and victim(s) should be Included in the
grievance in order for it to be properly investigated. As with any other grievance, supporting facts
should be released on a “need to know’ basis only and be kept confidential. This will decrease
the probability that anyone will file a defamation sult.

UNEMPLOYMENT COMPENSATION

In the event a member quits a Job to avoid sexual harassment, certain state employment security
commissions (including Michigan) have ruled that the employee should not be considered a
voluntary quit and should not lose unemployment benefits. Workers should be encouraged to
appeal any agency denial of unemployment benefits in this situation.

SEXUAL HARASSMENT BY CO-WORKERS

Unfortunately, sexual harassment is not only practiced by supervision. Co-workers have too often
been known to sexually harass other workers, Sexual harassment in the form of remarks,
gestures, physical touching, etc., by co-workers can make the victims’ work lives miserable and
hurt their ability to do their jobs.

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Sexual harassment of co-workers runs contrary to the basic Union objective of decent working
conditions free of discrimination, as set forth in Article 2 of the Constitution and reaffirmed in
innumerable policy statements and actions.

Sexual harassment of a Unian member by another Union member is a matter of concern and may
be dealt with in the grievance procedure as described elsewhere in the Administrative Letter.
Sexual harassment is particularly offensive if it involves a Union official abusing their position of
Union authority. These offenses should be called to the attention of the Regional Office and the
International Union for remedy.

Local leadership should also assist the International Union in educating our membership on this
problem. Sexual harassment violates the fundamental principles of fairness and equality for
which the Union has fought so hard.

ASSISTANCE

For additional information on the problem of sexual harassment and ways to combat It, contact
the appropriate International Representative from your Reglon who will contact the Civil Rights
Department of the International Union, if assistance is needed,

As far back as February 1951, the UAW issued an Administrative Letter on how to assure
members of a workplace free of sex discrimination. Until sexual harassment has been eliminated,
we can never meet this goal.

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EEOC Form 5 (11409)

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form ia affected by the Privacy Act of 1974, See enclosed Privacy Act {] FEPA
Statement and other information before completing this farm.
: [x] EEOC 471-2019-03796
Michigan Department Of Civil Rights and EEOC
~ Stata or local Agency, 4 any =

Name findicata Mr., Ms,, Mrs.) Home Phone fine, Area Gade) Date of Birth

Mrs. Patricia G. Morris-Gibson (734) 992-4937

Street Address Clty, State and ZIP Code

13100 Torry Pines Court, Taylor, Ml 48180

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or Slate or Local Goverment Agency That | Belleve
Dlscriminated Against Me of Others. (/ more than two, fist under PARTICULARS below.)

 

 

 

 

 

 

 

Name No. Employees, Members Phone No. (inctids Area Code}

INTERNATIONAL UNITED AUTO WORKERS (UAW) 201 - 500

Streat Address Clly, State and ZIP Code

8000 East Jefferson Ave, Detroit, Ml 48214

Name . No. Employees, Mambers Phone No. {include Area Code)

Street Address Clty, State and ZIP Code

DISCRIMINATION BASED ON {Check appropriate box{es).) DATE(S) DISCRIMINATION TOOK PLACE

pels yospaqatest Latest
[| RACE J COLOR [x] SEX [| RELIGION naTional ee eet $'M0-01-2018 07-02-2019

RETALIATION AGE DISABILITY [| GENETIC INFORMATION
[J OTHER (Spacify} ALA? Z - mr [x] CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach exira ateat(s)):
| began working for the above-named employer in 2008. | currently employed as an International
Service Representative. GQ3SAlI9393u

_ Throughout my employment, | have been subjected to sexual harassment by the Assistant Director
of Technical Office Professionals. Most recently, in October of 20148 | was called into a meeting with
the Assistant Director and the Former Director of Technical Office Professionals, and Servicing
Representative. During the meeting, | was asked questions regarding sexual harassment, specifically
about the incident when the Assistant Director was observed by, the President of Local 2256, kissing
me on the side of my mouth. | was very uncomfortable, humiliated, and embarrassed. | was off on
medical leave of absence. | was sent to an I.M.E. on February 28, 2019. | return to work on March 11,
2019. | was further subjected to Intimidation and forced to continue work with the haragser, |
requested my personnel file and copy of the I.M.E. The Respondent conducted an internal
investigation and the Assistant Director admitted to subjecting me to sexual harassment. The Office
of the President took over control of the investigation, to no avail. 1 was told to remain professional
and further incidents may lead to disciplinary action for the harasser.

| believe that | have been subjected to sexual harassment based on my sex (femaie) and in retaliation
I was subjected to an impressible Medical Examination, further harassment, and intimidation, in
violation of Title VI of the Civil Rights Act of 1964, as amended.

| want Ihls charge filed wilh both the EEOC and the State or local Agency, if any. |_| NOTARY - When necessary for Slate and Loval Agenoy Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them In tha processing of my charge in accordance with thelr

 

 

 

procedures. | swear or affirm that | have read the above charge and that It Is rue to
I declare under penalty of perjury that the above Is true and correct, tha best of my knowiadge, Information and belief. :
oy SIGNATURE OF COMPLAINANT
f fi 3 . ‘ \ ‘go coe) ee —
if . A / SUBSCR eg a A Usacth THIS DATE ~
Jul 02, 2019 \/ aL LG te hee? td ON,
of

 

 

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Cferaing Party Signature TN inteleqie Wire’ Y 2 if

 

 

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EXHIBIT 3

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EEOC Form 161 114718) U.S. Equar EMPLOYMENT OPPORTUNITY COMMISSION
. DISMISSAL AND NOTICE OF RIGHTS
To: Patricla G. Monis-Gibson From: Detroit Field Office ;
43100 Torry Pinas Court . 477 Michigan Avenue E
Taylor, Mi 46160 Room 866

Detroit, Ml 48226

 

| "On benalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601,7(a)} :
EEOC Charge No. EEOC Representative Telephone No =
_ Angelique M. Moreno,
471-2019-03796 Investigator (313) 226-2365

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facte alleged in the charge fall to stale a claim under any of tho statutes enforced by tha EEQC.

Your allegations did not involve a disability ag defined by the Americans With Disabifities Act.
The Raspondant employs less than Ihe required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC, in other words, you waited too fong after the date(s) of the alleged
discrimination to file your charge

The EEQC issuas the following determination: Based upon its investigation, the. EEOC Is uneble to conclude that the
Information abtalned establishes violations of the statutes. This does not cenify that the respondent ls in compliance with
the statutes. No finding ls made as to any other lesues that might be conetrued av_having been raised by this charge.

The EEOC has adopted the findings of the state or local falr employment practices agency that investigated this charge.

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- NOTICE OF SUIT RIGHTS -
(See the addifionel infermation attached te this form}

Title VU, the Americans with Disabilitias Act, the Genetic Information Nondiscrimination Act, or the Age
Disarimination In Employment Act: This will be the only notice of dismissal and of your right to sue that we will gend you.
You may file 4 lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsult must be filed WITHIN 90 DAYS of your recoipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing sult based on 4 claim under state law may ve different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state cour! within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file sult may not be collectible.

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Wie EO er VO OA*AULEY _
Enclosures(s) Michelle Elsaie, (Date Maited)
f; District Director
cc: LaChandra White
Director
UAW INTERNATIONAL

8000 E. Jefferson Ava,
Datroit, Mi 48214

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Enclosure with EEOC.
Farm 161 (44/18)

INFORMATION RELATED TO FILING SuIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Faderal faw.
if you afso plan to sue claiming violations of State aw, plaase be aware thal lime fimits and other
provisions of State jaw may be sherfer or mora limited than those described bafow.}-

Title Vilof the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must fila a lawsuit against the reapondent{(s) named tn the charge within
90 days of the date you raceive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. if you intend to
consult an altorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
Win or her the date you received it. Furthermore. in order to avoid any question that you did not act in a timely
manner, It is prudent that your auit be filed within 90 days of the date this Notice waa mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent Jurisdiction, (Usually, the appropriate
State court Is the general clvi! trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Fillng this Notice is not enough. You must file a “complaint” that contains a short
statement af the facte of your case which shows that you are entitled to rellef. Courts often require thal a copy of
your charge muat be attached to the complaint-you file in court. if so, you should remove your birth date from the
charge. Some courts will not accept your compiaint where the charge Includes a date of birth. Your sult may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relavant employment records are kept, where the employment would have
been, or where the respondent has Its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing sult, but do not axpect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE BUITRIGHTS = — Equal Pay Act (EPA):

EPA suits must be filed In court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations thal occurred.more than 2 years (3 years) before you file sult may not be collectible. For
example, if you were underpald under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
hafore 7/1/10 ~ not 12/1/10 — in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
sult is Separate from the 90-day fillng period under Title Vl, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, tha ADA, GINA or the ADEA, in addition to suing an the EPA
claim, sult must be filed within 80 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION = Title Vil, the ADA or GINA:

If you cannot afford or have been unable fo obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, In limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. Distrlet Court In the form and manner il requires (you should be prepared to explain in detail your
efforts to retaln an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relleve you of the requirement to bring sull within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice If you need help in finding @ lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge. please request il promptly In writing and provide
your charge number (ag shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on (he case. Therefore, if you fite suit and want to review the charge
fie, please make your review request within 6 months of this Notles. (Before fillng sult, any request should be
made within the next 90 days.)

 

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.

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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is stil] defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disabjlity); (2) a record of a substantially limiting
impainnent; or (3) being regarded_as having a disability. Mowever, these terms are redefined, and it is casler to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney amd_suggest that he or she consult the amended regulations and

 

 

appendix, sand soother ADA related _publications, available- _at
http://www.ceoc.gzov/laws/types/disability regalations.cfm,

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accormmodateclaim
you must mect the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no fonger have to be severe or significant for the impairment to
be considered substantially limiting.
> In addition to activities such as performing manual tasks, walking, seeing, hearing, spcaking, breathing,
Jeaming, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
1630.2(i)}, “major life activities” now include the operation of major bodily functions, such as:
functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
_ hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
within a body system.
Only one major life activity need be substantially limited,
With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
measures” (¢.p,, hearing aid, prosthesis, medication, therapy, behavioral modifications) are net
considered in determining it the impairment substantially limits a major life activity.
> An impainnent that is “episodic” (e.g., epilepsy, depression, mulfiple sclerosis) or “in remission” (e.g.
cancer) is a disability if it would be substantially limiting when active.
®» An impairment may be substantially limiting even though it lasts or is cxpected to last fewer than six
months. .

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“Regarded as” coverage:
> An individual can meet the definition of disability if an employment action was taken because of an
. actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to mect a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).
>» “Regarded as” coverage under the ADAAA no longer requires that an impairment be -substantially
_ limiting, or that the employer perceives the impairment to be substaptially limiting. :
» The employer has a defense against a “regarded as’-claim only when the impairment at issue is objectively
' BOTH transitory (lasting or expected to last six months or less) AND minog.
» A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly" and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as

explanatory publications, available at http://www.ecoc.sov/laws/types/disability reyulations.cfin.

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